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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


 ART+COM INNOVATIONPOOL GMBH,

                        Plaintiff,

                v.                                            Civil Action No. 1:14-217-TBD

 GOOGLE INC.,

                        Defendant.



                                     MEMORANDUM ORDER

        Presently before the court are Plaintiff ART+COM Innovationpool GmbH's ("ACI")

 Rule 50(b) Motions for Post-Trial Relief ("ACI's Motions") (D.I. 437 & 440), ACI's opening

 brief (D.I. 445), Defendant Google Inc.'s ("Google") opposition (D.I. 458), and ACI's reply (D.I.

 D.I. 466).

        For the reasons set forth below, IT IS HEREBY ORDERED THAT: ACI' s Motions are

 DENIED.

                                           BACKGROUND


     ACI brought this patent infringement action against Google on February 20, 2014, alleging

 infringement of U.S. Patent No. RE44,550 ("the '550 patent"). D.I. 1. ACI claimed that Google

 products "Google Earth, Version 7 and prior versions dating back to 2008, including Google

 Earth Free, Google Earth Enterprise, Google Earth Pro, and Google Earth for Audi ... ; Google

 Earth Version 8; and Google Earth for Google Maps" ("Google Earth" or the "Google Earth

 Products") infringe of claims 1, 3, 14, and 28 of the '550 patent ("the asserted claims"). D.I. 375

 at 3. Google argued that it does not infringe any of the asserted claims, that the asserted claims
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 are invalid as anticipated and/or   obvious~   and that the asserted claims are unenforceable. ld The

 case was tried to a jury from May 23 to May 27, 2016. 1

      At the conclusion of the five-day        trial~   the jury returned a verdict. The jury found that

 Google did not infringe any of the asserted claims of the '550 patent. D.l. 412 at 1. The jury

 further found that claims 1,   3~ 14~   and 28 are anticipated by the SRI TerraVision System prior art.

 /d. at 2. It alternatively found that claims 1, 14, and 28 are anticipated by the T_Vision Paper

 prior art and that claim 3 would have been obvious in light of the T_Vision Paper and U.S. Patent

 No. 4,972,319 (the "Global Mapping Patent" or "the '319 patent"). Id at 4, 5. The parties agreed

 that Google's affirmative defenses of inequitable conduct and laches were moot in light of the

 jury's verdict. See Trial Tr. 1564:19- 24.

     The court entered final judgment on May 31, 20 16~ and an amended judgment on July 12,

 2016. D.l. 416; 449. Pursuant to Rule 50(b), ACI renews its Rule SO(a) motion for judgment as a

 matter of law ("JMOL"). ACI also moves, in the alternative, for a new trial under Rule 59.

                                                 DISCUSSION

                                           I. ACI's JMOL Motions

         Rule 50(a) permits a court to grant a motion for judgment as a matter of law "[i]f a party

 has been fully heard on an issue during a jury trial and the court finds that a reasonable jury

 would not have a legally sufficient evidentiary basis to find for the party on that issue." Fed. R.

 Civ. P. 50(a)(1). "Entry of judgment as a matter of law is a sparingly invoked remedy," one

 "granted only if, viewing the evidence in the light most favorable to the nonmovant and giving it

 the advantage of every fair and reasonable inference, there is insufficient evidence from which a

          The trial transcript is located at D.I. 418, 419,420, 421, 422, and 423. All citations to the
 trial transcript are in the format "Trial Tr. at" followed by the transcript page number: line
 number.
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 jury reasonably could find liability." Marra v. Phi/a. Hous. Auth., 497 F.3d 286, 300 (3d Cir.

 2007) (internal quotation marks omitted). To prevail on a motion for judgment as a matter of law

 after trial, the moving party "must show that the jury's findings, presumed or express, are not

 supported by substantial evidence or, if they were, that the legal conclusion(s) implied [by] the

 jury's verdict cannot in law be supported by those findings." Pannu v. Jolab Corp., 155 F.3d

 1344, 1348 (Fed. Cir. 1998) (alteration in original) (internal quotation marks and citation

 omitted).

          The '550 patent is entitled "Method and Device for Pictorial Representation of Space-

 Related Data." '550 patent at col. 1, ll. 1- 3. The parties agreed to a December 22, 1995, priority

 date. The patent claims a method for "pictorial representation of space-related data, particularly

 geographical data of flat or physical objects," e.g., electronic maps of geography and topology.

 !d. at col. 1, II. 15- 22.

         Claim 1 is the only independent claim asserted by ACI. Claim 1 recites:

           1. A method of providing a pictorial representation of space-related data of a
           selectable object, the representation corresponding to a view of the object by
           an observer with a selectable location and a selectable direction of view
           comprising:
           (a) providing a plurality of spatially distributed data sources for storing space-
           related data;
           (b) determining a field of view including an area of the object to be represented
           through a selection of a distance of the observer to the object and an angle of
           view of the observer to the object;
           (c) requesting data for the field of view from at least one of the plurality of
           spatially distributed data sources;
           (d) centrally storing the data for the field of view;
           (e) representing the data for the field of view in a pictorial representation
           having one or more sections;
           (t) using a computer, dividing each of the one or more sections having image
           resolutions below a desired image resolution into a plurality of smaller

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          sections, requesting higher resolution space-related data for each of the smaller
          sections from at least one of the plurality of spatially distributed data sources,
          centrally storing the higher resolution space-related data, and representing the
          data for the field of view in the pictorial representation; and
          (g) repeating step (f), dividing the sections into smaller sections, until every
          section has the desired image resolution or no higher image resolution data is
          available.
 Id. at col. 10, 11. 15-42.

         Claim 2, from which claim 3 depends, requires "[t]he method of pictorial representation

 defined in claim 1, further including altering the selectable location and performing the steps (b)

 through (g).n /d. at col. 10, II. 43-45. ACI asserts claim 3, which further requires "including

 determining the data and/or the co-ordinates of the data in terms of a new co-ordinate system.n

 /d. at col. 10, 11. 4 7-48. Asserted claim 14 depends from claim 1, and specifies "wherein the step

 (f) comprises dividing each of the one or more sections using a model of the quadrant tree." /d. at

 col. 11, II. 20-21. Asserted claim 28 also depends from claim 1, and requires "steps (e) and (f)

 further include representing the data with a polygonal grid model.n /d. at col. 12, II. 2- 3.


                               A. ACI's Motion for JMOL of Infringement
        ACI moves for a judgment as a matter of law that the accused Google Earth Products

 infringe claims 1, 3, 14, and 28 of the '550 patent. ACI claims that there is no substantial

 evidence to support a verdict of noninfringement. The burden of proving infringement was on

 ACI. See Medtronic, Inc. v. Mirowski Family Ventures, LLC, 134 S. Ct. 843, 846 (2014).


        At trial, Google did not dispute that the Google Earth Products meet steps (a)-(e) of

 claim 1, nor did Google dispute, if steps (f) and (g) are met, that the additional limitations of

 dependent claims 3, 14, and 28 are met. See D.l. 410 at 15. The jury was so instructed. The

 parties only disputed whether the accused products practice steps (f) and (g) of claim 1. /d. As to



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 steps (f) and (g), the jury instructions repeated the language of the patent and further instructed

 that "[w]hile dividing any given section into smaller sections must occur prior to requesting

 higher resolution space-related data for each of those smaller sections, it is not necessary that all

 sections must be divided before higher resolution space-related data can be requested for any of

 the smaller sections," and that "step (f) must be performed before step (g)." D.I. 410 at 11- 12;

 see also D.I. 382 at 2- 3. There is no objection to that claim construction in the post-trial

 memoranda. ACI argues that there is no substantial evidence of non-infringement of either steps

 (f) or (g). D.I. 445 at 4.

         At trial, Google urged that it did not infringe step (f) because the method of the Google

 Earth Products skipped nodes, that it, it requested and represented finer resolution nodes without

 requesting or representing coarser nodes. Google's corporate representative, Peter Birch, testified

 on how Google Earth uses metadata trees (such as a quad tree) to request space-related data from

 data centers. According to Mr. Birch, Google Earth

                traverse[s] or we basically kind of walk our way down the tree to ...
                visit each of these nodes [of the metadata tree] to find out is this
                relevant, ... driven by whether [the space-related data at the node is]
                in the view or not. ... So in the process of this traversal we're making
                a list, almost like a shopping list. . . . So this list is in a particular
                order. And it's what we call traversal order.... Some of these nodes
                are more important than other nodes, so what we're going to do is
                we're going to shuffle them around andre-prioritize them.... There's
                an appropriate resolution for the given view, and so what we're going
                to want to do is ... get those nodes first.
 Trial Tr. at 911 :5- 915:1. 2 In other words, Google Earth creates a list of nodes, which store space-

 related data of relevant geographic areas at certain resolutions, and orders the list with priority


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         ACI argues that "the nodes [Mr. Birch and Dr. Goodchild] claim are 'skipped' are ones
 that are not displayed, per step (e)." D.I. 445 at 8. That is inconsistent with the testimony. For
 example, Mr. Birch testified that Google Earth traverses and prioritizes nodes "for the given
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 given to nodes with higher image resolution. Then, Mr. Birch explained, "now ... we have to

 start fetching some of this data or requesting this data" using computer tasks. ld at 915: 14-16.

 However, Mr. Birch testified that Google Earth does not "request[] all of the nodes on this list,

 we[] only request[] a portion of them .. . . [I]n fact, in this case, we haven't fetched all of the

 nodes. We've only actually fetched a portion of those nodes." ld. at 919:9- 11, 16-19. And Mr.

 Birch testified that the nodes that were not requested or fetched are also never displayed. See id.

 at 920:22- 921 :15. Mr. Birch testified that the approach he described is "used in all versions of

 the accused Google Earth products" and "all versions of Google Earth used this approach since it

 was released in 2005." ld. at 921:16-23.

        Google's technical expert Dr. Michael Goodchild also testified about the operation of

 Google Earth as to "all three groupings of the Google Earth products," Trial Tr. at 1109: 15- 16,

 based on his examination of the source code, discussions with Google engineers, and Google

 documents published about Google Earth, id. at 1097:8- 13. Dr. Goodchild stated that "[w]e first

 begin traversing the metadata tree. ... So we are dividing, but we're not requesting and storing

 and representing anything at this stage.... So the next step is to prioritize the list. And to do this

 on the basis of the desirability of retrieving particular tiles from the server." Trial Tr. at 1110:1-

 1111:2. According to Dr. Goodchild, Google Earth then requests data from the nodes, beginning

 with the "fine resolution data that are going to satisfy the user" as well as less fine data if there

 are sufficient computer tasks to do so. Jd at 1111 :7- 8; see also id. at 1111:19-20 (''And so [the

 fine resolution data] D 1 through 08 have been requested, [but also the less fine resolution] B 1

 has been requested."). Dr. Goodchild stated that "with this process, which began with traversal,

 view," Trial Tr. at 914:23, and not data outside the field of view excluded by step (e). See also
 D.l. 459, Ex. 7 (Dr. Goodchild's Demonstrative Slides) (representing Google Earth traversal of a
 metadata tree for a given field of view).

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 we have been smart enough to identify the [nodes] we really want ... [a]nd not have to retrieve

 all of the intermediate ones, so we have been able to skip certain nodes or tiles." /d. at 1113:9-

 14. Dr. Goodchild concluded that based on his review of the Google Earth source code, "Google

 Earth does not request or represent each of the smaller sections and, therefore, it does not

 infringe claim 1, step F." /d. at 1117:2-4.

        In short, both Mr. Birch and Dr. Goodchild testified that not all relevant nodes- i.e.,

 "higher resolution space-related data for each of the smaller sections," '550 patent, col. 10, 11.

 36-37- are requested or represented by Google Earth, because the highest resolution nodes are

 prioritized and requested first; when all of the highest resolution nodes have been requested,

 stored, and represented, then the intennediate nodes are never requested, stored, and

 represented. 3 Dr. Goodchild also concluded that "because the dividing does not lead to retrieving,

 storing and representing, and we can proceed to further divisions without [having] executed all

 of step F," id. at 1120: 11 - 14, Google Earth "simply does not repeat step F" as required by step

 (g) ofthe '550 patent, id. at 1121:13.

        ACI argues that it presented testimony that steps (f) and (g) embody the process of

 "coarse-to-fine zooming," and that Google Earth's source code executes coarse-to-fine zooming

 in default. D.l. 445 at 4-5. ACI asserts that the testimony by Mr. Birch and Dr. Goodchild

 "contradict[s] what is stated in Google's source code." /d. at 7. The source code is not entirely

 clear on its face. Both parties offered testimony as to what the source code required. It is the

 jury's role to decide the credibility and weight of evidence, and the jury was entitled to believe

 Google's witnesses. "[C]onflicting evidence which could reasonably lead to inconsistent
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         ACI argues that Mr. Birch and Dr. Goodchild testified that the particular sequence of
 retrieval can be unpredictable, but that does nothing to show that node-skipping does not occur
 or suggest that step (t) is practiced.
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 conclusions will not justify a judgment notwithstanding the verdict or a directed verdict. ... It is

 the function of the Uury] . . . to evaluate contradictory evidence and to draw inferences

 therefrom." Fireman's Fund Ins. Co. v. Videfreeze Corp., 540 F.2d 1171, 1178 (3d Cir. 1976)

 (citations omitted). The court finds that there was substantial evidence, such as the testimony

 from Mr. Birch and Dr. Goodchild, as to the node-skipping operation of Google Earth,

 supporting the jury's non-infringement verdict.

        ACI further argues that the testimony established that Google Earth did not utilize a

 node-skipping mode of operation with respect to each section in a field ofview and that therefore

 Google Earth practices steps (f) and (g) at least some of the time, and infringes at least some of

 the time. While "[i]t is well settled that an accused device that sometimes, but not always,

 embodies a claim nonetheless infringes," Broadcom Corp. v. Emu/ex Corp., 732 F.3d 1325, 1333

 (Fed. Cir. 2013) (internal quotation marks, brackets, and citation omitted), here step (f) requires

 that the method be performed in each instance in order to infringe. Claim 1 of the '550 patent

 requires practicing step (f) for "each of the smaller sections" '550 patent, col. 10, I. 35. Thus

 performance of the node-skipping operation instead of step (f) for at least some of the sections

 prevents infringement. 4


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         ACI also relies on a video, admitted into evidence but not played in court, of two Google
 engineers giving a presentation regarding Google Earth at a conference in 2014. See Trial Tr.
 478:4-5; PTX 142. According to ACI, the video explains that "Google Earth normally operates
 in one of two modes: 'navigation mode' and 'deep load mode.' ... 'Navigation mode' ... [is]
 the normal request order, [and] is purely coarse to fine...." D.I. 466 at 10 (citation omitted).
 According to ACI, another engineer indicates that Google Earth uses 'navigation mode' about 90
 percent of the time. ld.
         This video does not support ACI's case. First, this video exhibit is not sworn testimony,
 or otherwise admissible for the truth of the matter asserted in the video. Second, it is not even
 clear from the video that all higher resolution data were represented as step (f) requires- rather,
 "[i]f the children [nodes] are ready to render, [we] clear out the parent [nodes]." PTX 142 at
 17:00--17:16. Third, the deposition testimony of one of the Google engineers indicated that there
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        Accordingly, the court will deny ACI's motion for judgment as a matter of law that the

 Google Earth Products infringe the asserted claims of the '550 patent.

                            B. ACI's Motion for JMOL of No-Invalidity

        ACI moves for judgment as a matter of law that Google failed to prove anticipation

 and/or obviousness of claims 1, 3, 14, and 28 of the '550 patent by clear and convincing

 evidence.

                           1. Anticipation by the SRI TerraVision System

        A prior art system anticipates if it discloses "every limitation of the later claimed

 invention." Zenith Elecs. Corp. v. PDf Commc 'n Sys., Inc., 522 F.3d 1348, 1356 (Fed. Cir. 2008).

 Pre-America Invents Act "[s]ection 102(b) may bar patentability by anticipation if the device

 used in public includes every limitation of the later claimed invention ...." Netscape Commc 'ns

 Corp. v. Konrad, 295 F.3d 1315, 1321 (Fed. Cir. 2002). "[T]he dispositive question regarding

 anticipation is whether one skilled in the art would reasonably understand or infer from the prior

 art reference's teaching that every claim element was disclosed in that single reference." Dayco

 Prods., Inc. v. Total Containment, Inc., 329 F.3d 1358, 1368 (Fed. Cir. 2003) (internal quotation

 marks, alterations, and citation omitted).

        The jury found that the SRI TerraVision system was in public use before the priority date

 of the '550 patent, December 22, 1995. The jury was instructed that "[a]n invention is publicly



 are "many significant differences" between the presentation and how the Google Earth source
 code actually works. Trial Tr. at 479 at 16--17. Fourth, the engineers in the video did not purport
 to analyze Google Earth in terms of infringement of the '550 patent. Finally, even if there had
 been testimony that Google Earth uses 'navigation mode' 90 percent of the time, the jury would
 have been entitled to credit Mr. Birch's and Dr. Goodchild's testimony that Google Earth does
 not practice step (t) of the patent.
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  used if it is used by the inventor or by a person who is not under any limitation, restriction,

 understanding, or obligation of secrecy to the inventor. The absence of affirmative steps to

 conceal the use of the invention is evidence of a public use. However, non-commercial secret use

 by a third party is not public, unless members of the public or employees of the third party have

 access to the invention." D.I. 410 at 18. The jury was also instructed that, for there to be public

 use, it was required to find that the invention was "complete and could be used for its intended

 purpose" and "accessible to the public" in light of "the nature of the activity that occurred in

 public; public access to the use; confidentiality obligations imposed upon observers; and the

 circumstances surrounding testing and experimentation." /d.

         The jury determined that the SRI TerraVision system anticipates claims 1, 3, 14, and 28

 of the '550 patent. In this respect the jury was instructed that it "may find a claim is invalid based

 on prior public use if there is clear and convincing evidence that each claim step was publicly

 used.'' ld

         ACI argues that substantial evidence does not support the jury verdict. At trial, Google

 presented evidence that the SRI TerraVision system was placed in public use at two

 conferences- the 1994 MAGIC Symposium and SIGGRAPH '95- and that various

 contemporaneous documents (a video of the SRI TerraVision system created in 1994 and its

 accompanying script, SRI technical papers published in December 1993 and April 1994,

 materials submitted to the 1995 MAGIC Technical Symposium in August 1995; and a

 description of TerraVision published on a CD-ROM distributed to SIGGRAPH '95 attendees)

 described the system that was in public use.




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         First, ACI argues that the evidence did not support the jury finding that the SRI

 TerraVision system embodied all required claim limitations. Dr. Goodchild testified that, based

 on his review of the TerraVision video and publications, the TerraVision system embodied each

 of the limitations of the asserted claims. Trial Tr. at 1139:1- 1150:1. Step (a) of claim 1 requires

 "providing a plurality of spatially distributed data sources." '550 patent, col. 15, ll. 20- 21.

 Stephen Lau, a former SRI employee who worked on the SRI TerraVision system, testified that

 by 1994, there were image server system ("ISS") servers in Berkeley, California; Lawrence,

 Kansas; Kansas City, Kansas; Sioux Falls, South Dakota; and at the Minnesota Supercomputing

 Center in Minneapolis, Minnesota; and that the SRI TerraVision system demonstrated at MAGIC

  1994 and SIGGRAPH '95 retrieved data from ISS servers "located at various locations on the

  [MAGIC] network." Trial Tr. at 1035:9- 24; 1059:3- 12. The script for the 1994 TerraVision

 video stated that "[t]he network currently connects Minneapolis; Sioux Falls, South Dakota; and

 Kansas City, Lawrence, and Fort Leavenworth in Kansas." OJ. 459, Ex. 11 at ACI_0009159. Dr.

 Goodchild reviewed a SRI presentation from August 1995 showing ISS servers in various cities

 in Kansas, Minnesota, and South Dakota, and testified that there was a "network of distributed,

 spatially distributed data sources that TerraVision is connected to." Trial Tr. at 1139:5- 11; D.I.

 459, Ex. 7 at DDX-1003.54. There was substantial evidence that SRI TerraVision embodied step

 (a), "providing a plurality of spatially distributed data sources."

      Steps (b) and (c) require "(b) determining a field of view including the an area of the object

 to be represented through the a selection of the a distance of the observer to the object and the an

 angle of view of the observer to the object; [and] (c) requesting data for the field of view from at

 least one of the plurality of spatially distributed data sources." '550 patent, col. 10,11. 22- 27. The

  1994 TerraVision video script described how TerraVision allowed "[t]he user [to] click anywhere

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  on the map, instantly changing the point of view." D.I. 459, Ex. 11 at ACI_0009160. The April

  1994 SRI Technical Note No. 540 stated that a user can choose various viewpoints scenarios,

  such as "looking down from a low altitude" or "near ground level and looking out toward the

 horizon." D.I. 446, Ex. F at 2. The paper also states that "TerraVision basically uses an

  incremental retrieval of the database as required by the user." /d. at 3. Dr. Goodchild testified that

 steps (b) and (c) of claim 1 "are about determining a field of view and then requesting data for

 the field of view.... TerraVision [is] basically using an incremental retrieval of the data base as

 required by the user. That's [step (c)]. And he or she has seen it from just the right point of view

 is essentially [step (b)]." Trial Tr. at 1139:24-1140:8. There was substantial evidence that SRI

 TerraVision embodied steps (b) and (c) of claim 1.

      ACI does not dispute whether there was substantial evidence that the SRI TerraVision

 system embodies step (d) of claim 1. Steps (f) and (g) require


               (f) using a computer, dividing each of the one or more sections having
               image resolutions below a desired image resolution into a plurality of
               smaller sections, requesting higher resolution space-related data for
               each of the smaller sections from at least one of the plurality of
               spatially distributed data sources, centrally storing the higher
               resolution space related space-related data, and representing the data
               for the field of view in a the pictorial representation; and
               (g) repeating step (f), dividing the sections into smaller sections, until
               every section has the desired image resolution or no higher image
               resolution data is available.
 '550 patent at col. 10, 11. 31-42. Dr. Goodchild testified that the April1994 SRI Technical Note

 No. 540 describes steps (f) and (g), Trial Tr. at 1143:6-12, based on language from the paper

 stating, "[o]ur approach is to use a coarse-to-fine search on a quad-tree representation of the




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 terrain"5 and "Terra Vision basically uses an incremental retrieval of the database as required by

 the user, rather than forcing the user to copy a part of the database to local storage, visualizing

 that part, and repeating this until he/she has found the portion of the terrain that was of interest."

 D.I. 446, Ex. F at 3, 9. ACI argues that Dr. Goodchild's testimony as to steps (f) and (g) are

 deficient because language from the April 1994 SRI technical paper that states, "repeating this

 until he/she has found the portion of the terrain that is of interest" comes after the phrase "rather

 than," and is a description of what TerraVision did not do. See D.I. 445 at 22. Dr. Goodchild later

 explained that the syntax of the phrase "rather than" narrowly excludes only part of the sentence,

 i.e., "forcing the user to copy a part of the database to local storage," but does not suggest that

 TerraVision does not perform "visualizing that part" or the "repeating this" phrase. See Trial Tr.

 at 1211:4-14. There was substantial evidence that SRI TerraVision embodied steps (f) and (g) of

 claim I.

     Claim 2 was not an asserted claim, but claim 3 is a dependent claim that incorporates the

 limitations of claim 2. Claim 2 requires, "altering the selectable location and performing the

 steps (b) through (g)," and claim 3 further requires, "determining the data and/or the co-ordinates

 ofthe data in terms of a new co-ordinate system." '550 patent, col. 10, 11. 43--48. ACI recognizes

 that language from the SRI publications "arguably discloses 'altering the selectable location'"

 but asserts that the language "does not disclose what is required by the rest of the claim, i.e.,

 'performing steps (b) through (g).'" D.I. 445 at 22.

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         Dr. Goodchild used "coarse-to-fine" as a surrogate tenn for step (f)'s sequence of
 dividing, requesting, centrally storing, and representing. See Trial Tr. at 1094:16-1095:5 (Dr.
 Goodchild testifying that"[] Step F describes how [the '550 patent] do[es] this process of
 course-defined [sic] zoom."). Mr. Birch testified that "get[s] to the final image sooner rather than
 creating this kind of smooth blurry or coarse to fine transition across the whole image.'' /d. at
 923:4-7. The jury was entitled to credit Dr. Goodchild and Mr. Birch's testimony as to the actual
 operation ofGoogle Earth over Dr. Castleman's contradictory testimony.

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     The 1994 TerraVision video script states, "when we first move to a new area, the high

 resolution tiles are not available in local memory, so TerraVision is forced to use lower-

 resolution tiles. At the same time as the display is being processed, TerraVision is requesting

 higher-resolution tiles from the server. As they arrive, TerraVision uses these higher-resolution

 tiles, and the image becomes progressively better focused." 0.1. 459, Ex. 11 at ACI_0009163.

 The April 1994 SRI Technical Note No. 540 also describes for "[a]n important consideration in

 real-time rendering is maintaining as constant a frame rate as possible, at least while the user is

 moving," D.l. 446, Ex. F at 17, suggesting that new spatial data is being requested and rendered

 as the user is moving, i.e., altering the selectable location. Dr. Goodchild also testified that the

 April 1994 SRI technical paper describes how TerraVision "allow[s] a user to roam around the

 terrain, which is essentially what Claim 2 is about." Trial Tr. at 1145:15- 17. Dr. Goodchild also

 testified that the additional limitation of claim 3- "determining the data and/or the coordinates

 of the data in terms of a new co-ordinate system," '550 patent, col. 10, 11. 47-48- is embodied

 by SRI TerraVision, Trial Tr. at 1146:10- 16, pointing to the April 1994 SRI Technical Note No.

 541, which stated that the SRI TerraVision system utilizes a "projective transformation (going

 from the Cartesian local coordinate system to the image's pixel coordinates) ... specified as the

 product of two transformations: the first is a projection from the local 3-D coordinate to the

 image's intrinsic 2-D coordinate system, ... and the second is from the [2-D] coordinate system

 to the image's pixel coordinate system." Exhibit to Stephen Lau's Direct Testimony, DTX1037 at

 8. Mr. Lau also testified that SRI TerraVision could transform "latitude and longitude

 coordinates" to local coordinates, Trial Tr. 1047: 14-20, as described by the April 1994 SRI

 Technical Note No. 541. See Exhibit to Stephen Lau's Direct Testimony, DTX1037 at 7. There

 was substantial evidence that SRI TerraVision embodied claim 3.


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        ACI does not dispute that there was substantial evidence that the SRI TerraVision system

 embodied claim 14, relating to "dividing ... sections using a model of the quadrant tree,'' '550

 patent at col. 11, II. 20-21, or that it embodied claim 28, relating to "representing [] data with a

 polygonal grid model,'' id. at col. 12, 11. 2- 3. Dr. Goodchild testified that SRI Technical Note No.

 540 disclosed using a quad-tree. See Trial Tr. at 1148:1-4 (citing D.l. 446, Ex. F at 9). Dr.

 Goodchild also testified that the TerraVision video uses "a set of square tiles [that] have been

 knitted together to form the display," Trial Tr. at 1149:5- 7, and cited Mr. Lau's testimony "about

 how the TerraVision system also used a triangular mesh, a mesh of three-sided polygons to

 represent terrain," id. at 1149:9- 11. There was substantial evidence that SRI TerraVision

 embodied claims 14 and 28.

        Second, ACI argues that Google did not provide corroborating evidence that SRI

 TerriVision actually embodied the elements of the asserted claims. Generally, 44 [c]orroboration is

 required of any witness whose testimony alone is asserted to invalidate a patent." TypeRight

 Keyboard Corp. v. Microsoft Corp., 3 74 F.3d 1151, 1159 (Fed. Cir. 2004) (citations omitted). The

 Federal Circuit has held that "documentary evidence [such as a manual for a prior art machine],

 created around the time the machine was developed, provides strong support for [] testimony"

 describing the machine. Lazare Kaplan Int '1, Inc. v. Photoscribe Techs., Inc., 628 F.3d 1359,

 1374 (Fed. Cir. 2010) (holding also that a "commercial video illustrating the machine in

 operation and an undated photograph of the machine" lent credence to witness testimony, id. at

 1375). Mr. Lau testified that "[t]he features of TerraVision that was demonstrated at SIGGRAPH

 1995 were the same that was, ... in the papers that had been published to date," Trial Tr. at

 1050:1-4, namely, the video of the SRI TerraVision system created in 1994 and accompanying

 script, SRI technical papers published in December 1993 and April 1994, materials submitted to

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 the 1995 MAGIC Technical Symposium in August 1995; and a description of TerraVision

 published on a CD-ROM distributed to SIGGRAPH '95 attendees. See id. at 1034:24-1035:5;

  1040:16-22; 1042:22- 1043:4; 1044:3-6; 1057:6-8. These contemporaneous video and

 documentary evidence corroborate Mr. Lau's and Dr. Goodchild's testimony about what was

 demonstrated at the 1994 MAGIC Symposium and SIGGRAPH '95.

        Third, ACI claims that Google "offered no evidence that any of the system capabilities

 described in [the SRI publications] would have been ascertainable, e.g., to those who attended

 the 1994 [MAGIC] Symposium and SIGGRAPH 95." D.I. 445 at 19. ACI argues that the "use

 must inform the public that what they are seeing is, in fact, the claimed invention," and that

 observers of the SRI TerraVision video "would have had no idea how the Terravision [sic]

 application defined a field of view, fetched data for that field view, pictorially represented that

 data or sharpened that pictorial representation . . . . The claimed method . . . would have been

 opaque to the observer." D.I. 466 at 14-15.

        Controlling authority contradicts ACI's contention that the public must be able to

 ascertain the individual elements of an invention for it to constitute a public use. In Egbert v.

 Lippmann, the Supreme Court explained that "some inventions are by their very character only

 capable of being used where they cannot be seen or observed by the public eye. An invention

 may consist of a lever or spring, hidden in the running gear of a watch, or of a rachet, shaft, or

 cog-wheel covered from view in the recesses of a machine for spinning or weaving.

 Nevertheless, if its inventor sells a machine of which his invention forms a part, and allows it to

 be used without restriction of any kind, the use is a public one." 104 U.S. 333, 336 (1881). In

 Egbert, the Court held that there was a public use when an inventor "presented [corset steels] to

 [a third-party] for use. [The inventor] imposed no obligation of secrecy, nor any condition or

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 restriction whatever. . . . [The third party] used them for years for the purpose and in the manner

 designed by the inventor." Jd. at 337.6 And in doing so the Court rejected the position of the

 dissenting opinion that "the little steel spring inserted in a single pair of corsets, and used by only

 one person, covered by her outer-clothing, and in a position always withheld from public

 observation," id. at 339 (Miller, J., dissenting) is not a public use.

         The critical inquiry is whether the invention is "used without restriction of any kind." /d.

 at 336. See also Elec. Storage Battery Co. v. Shimadzu, 307 U.S. 5, 20 (1939) ("The ordinary use

 of a machine or the practise of a process in a factory in the usual course of producing articles for

 commercial purposes is a public use" where "(t]here is no finding ... that efforts were made to

 conceal [the use] from anyone who had a legitimate interest in understanding them."). Similarly,

 in Hall v. Macneale, the Supreme Court held that "the use and sale of[] solid conical bolts in ...

  [two] safes ... constituted a use and sale ofthe invention." 107 U.S. 90, 96 (1883). Ofthe bolts,

 the Supreme Court noted that the use of the bolts was "necessarily known to the workmen who

 put them in" and also that "[t]hey were, it is true, hidden from view, after the safes were

 completed, and it required a destruction of the safe to bring them into view. But this was no

 concealment of them or use of them in secret. They had no more concealment than was

 inseparable from any legitimate use of them." Jd. at 97. See also New Railhead Mfg., L.L.C. v.

  Vermeer Mfg. Co., 298 F.3d 1290, 1299 (Fed. Cir. 2002) (holding the argument that "the patented

 method was not in public use because one could not view the [patented] drill bit or see it in

 operation rings hollow because '[i]t is not public knowledge of his invention that precludes the

 6
         In Egbert there was evidence that the third-party ripped out the steels and could examine
 them, and that on at least one occasion the inventor showed another person the steels and
 explained how they were made and used. See 104 U.S. at 335. But the Supreme Court's holding
 is broader, and covers "inventions ... only capable of being used where they cannot be seen or
 observed by the public eye." /d. at 336.

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 inventor from obtaining a patent for it, but a public use or sale of it"') (quoting City ofElizabeth

 v. American Nicholson Pavement Co., 97 U.S. 126, 136 (1877) (alteration in original)).

        The cases ACI cites do not support a contrary view. In Dey, L.P. v. Sunovion

 Pharmaceuticals, Inc., the Federal Circuit reversed the grant of summary judgment that

 Sunovion's clinical trial of the drug formoterol to treat chronic obstructive pulmonary disease

 was a public use. 715 F.3d 1351, 1353 (Fed. Cir. 2013). This was so because "limited disclosure

 to a small number of uninformed observers[, i.e., the subjects of the clinical trial]" the

 restrictions on the subjects' usage of the drug, and the confidentiality agreements imposed on the

 investigators would permit a reasonable jury to find that the use of the drug "was sufficiently

 controlled and restricted, rather than unfettered and public." !d. at 1356. Similarly, in Delano

 Farms Co. v. California Table Grape Commission, the Federal Circuit held that there was no

 public use because the facts showed the use of grape plants was "confidential and non-public."

 778 F.3d 1243, 1249 (Fed. Cir. 20 15). The planting of grape varieties outdoors and ''visible from

 public roads" was effectively secret because "unreleased varieties were not labeled in any way,

 and the appellants introduced no evidence that any person other than the [secret users] had ever

 recognized the unreleased varieties." !d. at 1249.


        Here, the SRI TerraVision system was publicly demonstrated at two technical

 conferences, to attendees with knowledge in the art, without restriction or effort to maintain

 confidentiality. Mr. Lau testified that at SIGGRAPH '95 he


          did live demonstrations of TerraVision in operation on the exhibit floor
          retrieving data from [] across the network... and also showed the video [of
          SRI TerraVision] in a loop on a TV screen .... [There was] a workstation there
          that actually could run TerraVision. And once again we had ISS's scattered
          throughout the [MAGIC] network as you saw. So TerraVision in operation


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          would actually pull that infonnation across the [I]nternet from the [Magic]
          network and display that in real time on the show floor.
  Trial Tr. at I 048:17- 21. Mr. Lau also testified that "at least 500" people saw the live

 demonstration, id. at 1049:15, and that he even shared the SRI TerraVision source code, which

 "was compiled to run on the workstation to get the demo[nstration] running," with ART+COM

 employees, because the project "was a federally funded project that was meant to be put in the

 public domain," id at 1051 :4-13; 1051 :23- 1052:1.

         Mr. Lau further testified that he demonstrated SRI TerraVision at the 1994 MAGIC

  Symposium to "[a]pproximately about a hundred people." /d at 1059:13- 14. He testified,

          I gave a demonstration, a live demonstration[,] of TerraVision to the attendees.
          And we also showed ... the (1994] video [ofTerraVision] .. . . We had a live
          demonstration that we worked on a workstation ... and we had ISS's located
          at various locations on the [MAGIC] network and we did a live demonstration
          of TerraVision being able to retrieve the data from across the network in real
          time as you fly.
 Trial Tr. at 1058:20-1059-10. The jury was entitled to find that the activities constituted a public

 use. Even under ACI's view that members of the public must be infonned of the elements of an

 invention, in fact there was evidence that every detail was disclosed by the provision of the

 source code to ART+COM. A single public use is sufficient. Worley v. Loker Tobacco Co., 104

 u.s. 340, 343 (1881).
         Finally, ACI argues that Google did not show that the SRI TerraVision system was "ready

 for patenting." In Pfaffv. Wells Electronics, Inc., 525 U.S. 55, 67 (1998), the Supreme Court held

 that the 35 U.S.C. § 102 on-sale bar applies only when the invention is "ready for patenting. That

 condition may be satisfied in at least two ways: by proof of reduction to practice before the

 critical date; or by proof that prior to the critical date the inventor had prepared drawings or other

 descriptions of the invention that were sufficiently specific to enable a person skilled in the art to

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 practice the invention.H /d. at 67-68. See also Medicines Co. v. Hospira, Inc., No. 2014-1469,

 2016 WL 3670000, at *7 (Fed. Cir. July 11, 2016) (en bane) (describing the Pfaff"ready for

 patenting" requirement). Because the on-sale bar and the public use bar stem from the same

 policy considerations, the Federal Circuit has held that "the Supreme Court's 'ready for patenting

 test' applies to the public use bar under§ 102(b)." Invitrogen Corp. v. Biocrest Mfg., L.P., 424

 F.3d 1374, 1379 (Fed. Cir. 2005). "An invention is reduced to practice when it works for its

 intended purpose.... [i.e.,] when there is a demonstration of its workability or utility." Atlanta

 Attachment Co. v. Leggett & Platt, Inc., 516 F.3d 1361, 1366-67 (Fed. Cir. 2008) (citations

 omitted). By agreement, the jury was not instructed based on the Court's "ready for patenting"

 language in haec verba. Instead, the jury was instructed that for SRI TerraVision to have been in

 public use, it must find that SRI TerraVision was "complete and could be used for its intended

 purpose." D.I. 410 at 18. There was no challenge to this instruction.

        During the trial, Mr. Lau testified that he and his team demonstrated the SRI TerraVision

 system at the 1994 MAGIC Technical Symposium held at the University of Kansas in August

 1994 and the SIGGRAPH '95 conference held in Los Angeles in August 1995. See Trial Tr. at

 1048:3-6. Mr. Lau also testified that at the SIGGRAPH '95 conference he performed live

 demonstrations of SRI TerraVision to at least 500 people, and in fact "gave [] the source code to

 TerraVision" to ACI employees who were in attendance and "walk[ed] them through the source

 code.'' /d. at 1049:15; 1050:22-1051:3; 1052:1-3. While ACI argues that TerraVision was a

 "work in progress" and there remained "multiple 'research issues,"' D.I. 445 at 16-17 (citations

 omitted); an invention can be considered reduced to practice "even though it may later be refined

 or improved," New Railhead Mfg., 298 F.3d at 1297. There was substantial evidence that the SRI




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 TerraVision system was "complete and could be used for its intended purpose," i.e., that it was

 "ready for patenting."

         The court will deny ACI's motion for judgment as a matter of law that no reasonable jury

 could have found that Google offered clear and convincing proof that the SRI TerraVision system

 anticipated the asserted claims of the '550 patent.'

                    2. Anticipation of Claims 1, 14, and 28 by the T_Vision Paper

         I next consider the alternative jury finding of anticipation of claims 1, 14, and 28 by the

 T_Vision Paper. The jury found that the T_Vision Paper was a printed publication, i.e.,

 "disseminated or otherwise made available to the extent that persons interested and ordinarily

 skilled in the subject matter exercising reasonable diligence could locate it," D.I. 410 at 17,

 before December 22, 1995 and that the T_Vision Paper anticipates claims 1, 14, and 28 of the

 '550 patent. See 0.1. 412 at 4.


         The T_Vision Paper describes the T_Vision earth visualization research project created

 by ART+COM e.V., 8 including team members Gerd Grueneis, Pavel Mayer, Joachim Sauter, and

 Axel Sclunidt- the four co-inventors of the '550 patent. D.l. 446, Ex. Eat 3-4. It "provides a[]

 virtual globe as a multimedia interface to visualize any kind of data related to a geographic

 region. The virtual globe is model[]ed from high resolution spatial data and textured with high

 resolution satellite images." /d.


 7
         ACI also urges that it is entitled to judgment as a matter of law that the SRI TerraVision
 system did not render obvious the asserted claims. See D.l. 445 at 23. The jury determined that
 SRI TerraVision anticipated the asserted claims, and did not reach the question of obviousness
 on the basis of SRI TerraVision. Because the court upholds the jury's anticipation verdict as to
 the SRI TerraVision system, it need not reach the issue of obviousness. See St. Jude Med.
 Cardiology Div., Inc., 2013 WL 4517534, at *7.
 8
         ACI is a spin-off of ART+COM.

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        ACI first argues that there was no evidence that the T_Vision Paper was published before

 the priority date because there was no evidence that, as Google claimed, CO-ROMs containing

 the paper were distributed at the SIGGRAPH '95 conference, held in August 1995. D.I. 445 at

  I 0. The jury heard testimony from Google witnesses. Mr. Lau, who attended SIGGRAPH '95,

 testified that "all the attendees [of SIGGRAPH '95] received [] printed proceedings from the

 conference itself and also a CD-ROM containing electronic versions from the conference itself."

 Trial Tr. at 1055:13- 16. At trial, Mr. Lau recognized the SIGGRAPH 95 CO- produced in this

 suit by a third-party, the Association for Computing Machinery ("ACM")-.eas the one provided

 to the attendees of the conference and recognized "T_Vision down the bottom there" as one of

 the available files on the CD. Trial Tr. at 1055:24-1057:19.9

         Bernard Rous, a corporate witness for ACM, which organized the SIGGRAPH

 conferences, corroborated aspects of Mr. Lau 's testimony. He testified that, based on general

 ACM practices, CD-ROM materials were given to SIGGRAPH '95 attendees. 10 Trial Tr. at

  1024:8- 1025:1; 1027:13- 18. Mr. Rous testified that "[g]enerally speaking, the attendees [of

 SIGGRAPH conferences] are given- the CO-ROMs that are produced as hard copy of the

 proceedings" and "normally speaking when people enter, they have their registration badge, ...



 9
         While Mr. Lau testified at his deposition that he could not remember if the SIGGRAPH
 '95 CD-ROM contained the T_ Vision publication, his memory was refreshed at trial by looking
 at the actual CD-ROM. See Trial Tr. at 1057:2- 12.
         ACI's objections to Mr. Lau's testimony based on allegedly improper payments are
 addressed in the court's order denying ACI's Rule 60(b) motion. D.l. 471. For the reasons stated
 in that order, the court rejects ACI's claim that Mr. Lau's testimony was not credible because of
 improper payments. Mr. Lau appeared to testify candidly and carefully, and there was nothing to
 indicate that his testimony was influenced by payments.
 10
         See Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1569 (Fed. Cir. 1988)
 ("Evidence of routine business practice can be sufficient to prove that a reference was made
 accessible before a critical date.").
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 and as they come in, they pick up what's being distributed to them." /d. at 1024:10-13; 1025:7-

  11.

         The testimony of Mr. Lau, confirmed in part by Mr. Rous, constituted substantial

 evidence that the T_Vision Paper was a printed publication distributed on CD-ROM at

 SIGGRAPH '95 before December 22, 1995. There was no contrary evidence. ACI presented

 testimony from Pavel Mayer, an inventor of the '550 patent, who stated that he did not "recall

 receiving any CD-ROM materials at [SIGGRAPH] '95," Trial Tr. at 351:6-11; and co-inventor

 Axel Schmidt, who stated that he had not seen the T_Vision paper in any form "including a CD-

 ROM at [SIGGRAPH] '95" prior to his deposition in this litigation, Trial Tr. at 442:18-443:1.

 This testimony was not evidence that the CD-ROM was not distributed and, even if it were, the

 jury was entitled to disbelieve it.

         ACI next argues that the jury verdict that the T_Vision Paper anticipated claims 1, 14,

 and 28 are not supported by substantial evidence. ACI only challenges Google's evidence as

 insufficient ''as to steps (b), (f) and (g) of claim 1." D.l. 445 at 12. Step (b) requires "determining

 a field of view including an area of the object to be represented through a selection of a distance

 of the observer to the object and an angle of view of the observer to the object." '550 patent at

 col. 10, II. 23- 26. The T_Vision Paper discloses "know[ing] all viewing and flight parameters

 like position and direction. From that it calculates the currently needed data...." D.l. 446, Ex. E

 at 5. Dr. Goodchild testified that "know[ing] all viewing and flight parameters like position and

 direction" discloses step (b), which is "about defining the observer's position in terms of an

 angle of view and a distance." Trial Tr. at 1176:8- 15. He further explained that "it would then

 follow that from the viewing parameters you would calculate the frustum and from that you



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 would intersect it with the earth and calculate the currently needed data." !d. at 1223:4-10. 11

 There was substantial evidence that the T_Vision Paper anticipates step (b) of claim 1.

         Dr. Goodchild testified that steps (f) and (g) "are concerned with this process of going

 from co[a]rse [to fine], so F is about dividing, requesting, centrally storing and representing. And

 then G is about repeating ...."Trial Tr. at 1177:22- 1178- 2. Dr. Goodchild cited the T_ Vision

 Paper's use of an illustration showing the "field of view being divided so that we can obtain

 better resolution data, in other words we can go from co[a]rse [to fine]," and which he testified

 was "very similar to Figure 5 [of the] '550 Patent." /d. at 1178:4-9; compare D.I. 446, Ex. Eat 7

 with '550 patent, fig. 5. The T_ Vision Paper describes the "specific concept of seamless links

 between different levels of detail [which] allows the continuous zooming from a global view

 down to recognizable features of only a few centimeters in size." 0.1. 446, Ex. E at 3. The

 T_Vision Paper also states that when using the T_Vision prototype, "[i]f you approach too fast

 you will get a coarse image, but the frame rate is not affected.... The database is organized as a

 quadtree, contai[n]ing higher levels of detail as you descend down the tree." !d. at 5. Dr.

 Goodchild testified that these excerpts describing "continuous zooming" and a "database []

 organized as a quadtree containing high levels of detail to send down the tree" discloses

 "divid[ing] and then repeat[ing] the process" as in steps (f) and (g). Trial Tr. at 1178: 13- 21. The

 T _Vision Paper also teaches "provid[ing] the ... highest-resolution data required for the current


 II
         ACI argues that "Dr. Goodchild did not testify about what the reference actually
 discloses. Rather, he opined as to what persons of ordinary skill might read into the reference."
 D.I. 445 at 13. Such testimony is not insufficient because the measure of anticipation is
 disclosure to a person of ordinary skill. "[E]ven if a piece of prior art does not expressly disclose
 a limitation, it anticipates if a person of ordinary skill in the art would understand the prior art to
 disclose the limitation and could combine the prior art description with his own knowledge to
 make the claimed invention." Arthrocare Corp. v. Smith & Nephew, Inc., 406 F.3d 1365, 1373-
 74 (Fed. Cir. 2005) (citation omitted).

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 field of view" and "request[ing]   Odata .. . with an appropriate resolution." D.I. 446, Ex. Eat 4-
 5. Dr. Goodchild testified that steps (t) and (g) were disclosed by the T_Vision Paper, Trial Tr. at

  1177:18-22, and concluded "that the T_ Vision publication does indeed disclose each and every

 element of Claim 1," id. at 1179:3- 5.

         There was substantial evidence that the T_Vision Paper anticipates steps (t) and (g) of

 claim 1.

                                       3. Obviousness of Claim 3


         In addition to finding claim 3 anticipated by the SRI TerraVision system, the jury found

 that Google had proven by clear and convincing evidence that claim 3 of the '550 patent would

 have been obvious to a person of ordinary skill in the art in light of the T_Vision Paper and the

 Global Mapping Patent. D.I. 412 at 5. Claim 2, from which claim 3 depends, requires "[t]he

 method of pictorial representation defined in claim 1, further including altering the selectable

 location and performing the steps (b) through (g)." ' 550 patent, col. 10, II. 45-47. Claim 3 further

 requires "including determining the data and/or the co-ordinates of the data in terms of a new co-

 ordinate system." /d. at col. 10, II. 49- 50.

         The T_ Vision Paper describes "continuous zooming from a global view down to

 recognizable features" based on "[t]he user [exercising] full control over which information to

 view, at what time and at which location." D.I. 446, Ex. E at 3. An user interface called the

 '"earthtracker' [] facilitates the user's navigation around the virtual globe." /d. at 4. Based on the

 user's " flight parameters like position and direction," the T_Vision system "calculates the

 currently needed data," "requests the data for a special location with an appropriate resolution."

 /d. at 5. Dr. Goodchild testified that claim 2, from which claim 3 depends, is disclosed by the


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 T_Vision Paper because "once the view changes, the database will go through the Quadtree to

 find the appropriate levels of detail." Trial Tr. at 1182:16-23.

         The Global Mapping Patent, issued on November 20, 1990, is entitled, "Electronic

 Global Map Generating System," and is related to a "variable resolution global map generating

 system for structuring digital mapping data in a new data base structure, managing and

 controlling the digital mapping data . . . according to new mapping data access strategies, and

 displaying the mapping data in a new map projection of the earth." '319 patent at col 1, II. 2- 3;

 7- 12. Dr. Goodchild testified that "claim 3 is about changing the coordinate system,

 transforming coordinates from one coordinate system to another.... And in (the Global Mapping

 Patent] there is clear reference to the use of coordinate transformations...."Trial Tr. at 1183:20-

 22.

         ACI does not dispute that the Global Mapping Patent discloses the additional limitation

 of claim 3 of the '550 patent. 12 Indeed, at an earlier stage of the proceedings, ACI 's technical

 expert Dr. Castleman conceded that " [c]a-ordinate systems and transformations thereof were

 well known at the time of the application." Castleman Cross-Examination Exhibits Binder, Ex. B

 12
         The Global Mapping Patent teaches, for example,
          organizing [] mapping data of [] surface area by degrees of latitude and
          longitude; structuring each [] window of mapping data to represent a
          substantially rectangular surface area configuration encompassing defined
          degrees of latitude and longitude for each magnitude, and storing the mapping
          data for each magnitude in a vertical Mercator projection format; accessing and
          presenting said windows of mapping data in a corrected or compensated
          projection format departing from said Mercator projection format according to
          a real configuration of said surface area, by varying an aspect ratio of latitude
          to longitudinal dimensions of each window according to a coordinate position
          of said window with respect to a coordinate layout of said surface area.
 '319 patent, col. 31, 11. 9- 24.


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 (Rebuttal Expert Report of Kenneth R. Castleman, Ph.D. Regarding the Validity of U.S. Patent

 Number RE44,550) at 74. However, ACI argues that Dr. Goodchild did not explain why a person

 of ordinary skill would have been motivated to combine the Global Mapping Patent with the

 T_ Vision Paper. D.I. 445 at 25- 26. The '550 patent specification describes the problem solved

 by coordinate transformation:


             The range of spatial resolutions covers many orders of magnitude. In order to
             enable any resolutions while also using evaluating devices which operate
             internally with a limited numerical precision, for example with computer with
             an address space limited to 32 bits and/or floating-point of view limited to 32
             bits for numbers, after an alteration in the location and of the angle of view of
             the observer, the data are converted to a new co-ordinate system with a new
             co-ordinate origin. During a continuous movement of the observer therefore
             the co-ordinates of the data are constantly subjected to co-ordinate
             transformation.
 '550 patent, col. 5, 11. 10- 22. The specification further describes an embodiment of the invention

 on a Silicon Graphics Onyx computer:


             It operates with floating-point views with a 32 bit representation. As this
             accuracy in the present example is insufficient for example to follow a
             movement ... from space continuously down to a centimeter resolution ... [,]
             the co-ordinates of the data during such a movement were continuously
             converted to a new co-ordinate system with a coordinate origin located in the
             vicinity of the observer.
 Id at col. 6, II. 49- 56. Thus, claim 3 purports to solve the problem of"enabl[ing] any resolutions

 while also using evaluating devices which operate internally with a limited numerical precision."

 /d. at col. 5, 11. 12- 14. That problem was well-known in the art, as was the solution of using

 coordinate transformation. For example, Mr. Lau testified that there were "various coordinate

 transformers within [the SRI] TerraVision" prior art system to correct for "precision [] in doing []

 calculations" when moving around from various locations very quickly. Trial Tr. at 1046:22-

  1047:18.


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        Dr. Goodchild testified that "in my view the combination of the T_Vision publication and

 the [G]lobal [M]apping [P]atent would have been obvious to one of ordinary skill in the art."

 Trial Tr. at 1184:6-9. The Supreme Court held in KSR International Co. v. Telejlex Inc. that

 "[w]hen a work is available in one field of endeavor, design incentives and other market forces

 can prompt variations of it, either in the same field or a different one. If a person of ordinary skill

 can implement a predictable variation, § I 03 likely bars its patentability. For the same reason, if

 a technique has been used to improve one device, and a person of ordinary skill in the art would

 recognize that it would improve similar devices in the same way, using the technique is obvious

 unless its actual application is beyond his or her skill." 550 U.S. 398, 417 (2007). Here, the

 concept of transforming coordinates from one system to another had been used to improve the

 subject of the Global Mapping Patent, a "variable resolution global map generating system"

 which "allows the quick and easy manipulation of and access to an extraordinary amount of

 mapping information" on 16 bit and 32 bit computers. '319 patent at col. I, II. 7- 8; col 2, 11. 49-

 53; col. 28, 1. 68; col. 29, 1. 24. The Global Mapping Patent "provides a computer implemented

 method and system for manipulating and accessing digital mapping data in a tremendous data

 base, [] for the reproduction and display of electronic display maps which are representative of

 the geographical ... features of a selected geographical area[,] ... [and for] organiz[ing] the

 mapping data into a hierarchy of successive magnitudes or levels for presentation of the mapping

 data with variable resolution." !d. at col. 6, 11. 9- 23. The Global Mapping Patent is thus dedicated

 to precisely the same field of endeavor as the T_Vision Paper. In creating an electronic map of

 geographic areas using ''an extraordinary amount of' digital mapping data, the Global Mapping

 Patent recognized that it is useful to use coordinate transformation and describes the advantages

 of doing so. See, e.g., '319 patent, col. 26, ll. 51- 57 ("In its simplest form the coordinate system


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  is Cartesian, but the invention contemplates a variety of virtual tile manifestations of windowing

 the mapping data at each magnitude," i.e., at different distances above the Earth or different

 resolutions). The use of coordinate transformation in combination with the T_Vision Paper was

 no more than the "mere application of a known technique to a piece of prior art ready for the

 improvement," KSR, 550 U.S. at 417. A person of ordinary skill in the art could obtain from the

 prior art itself a motivation to combine the T_Vision Paper and the Global Mapping Patent. The

 court finds there was substantial evidence that claim 3 of the '550 patent would have been

 obvious in light of the T_ Vision Paper and Global Mapping Patent.

                                  II. ACI's Motion for a New Trial

         ACI moves in the alternative for a new trial. Rule 59(a) provides: "The court may, on

 motion, grant a new trial on all or some of the issues- and to any party- as follows: (a) after a

 jury trial, for any reason for which a new trial has heretofore been granted in an action at law in

 federal court ...."Fed. R. Civ. P. 59(a). The decision to grant or deny a new trial is committed

 to the sound discretion of the district court. See Allied Chern. Corp. v. Daiflon, Inc., 449 U.S. 33,

 36 (1980).

         First, ACI argues that the jury deliberations took only 45 minutes, and "[t]hese cursory

 'deliberations' yielded a verdict counter to the great weight of the evidence." D.I. 445 at 26.

 However, "[b]rief jury deliberation is not, in itself, sufficient basis to support a new trial motion.

 [The] Fourth Circuit once upheld the trial court's denial of a new trial motion where the jury had

 deliberated only four minutes, and the Fifth Circuit       D has   stated that '[i]f the evidence is

 sufficient to support the verdict, the length of time the jury deliberates is immaterial.'" Kearns v.

 Keystone Shipping Co., 863 F.2d 177, 182 (1st Cir. 1988) (quoting Marx v. Hartford Accident &


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 lndem. Co., 321 F.2d 70, 71 (5th Cir. 1963), and citing Segars v. At/. Coast Line R.R., 286 F.2d

  767 (4th Cir. 1961)). Here, the jury was extremely attentive throughout the trial, as evidenced by

 the questions it submitted to be asked of witnesses, and appeared to take the matter very

  seriously. And for the same reasons articulated above, the court finds that the jury verdict was not

 counter to the great weight of the evidence.

         Second, ACI repeats its allegation that the testimony of Mr. Lau was improperly admitted

 at trial because he was a paid fact witness. D.l. 445 at 27. The court rejects that basis for ordering

 a new trial for the same reasons it denied ACI's Rule 60(b) motion. D.l. 4 71.

         ACI's Motions are DENIED.



 It is SO ORDERED this ....3._th day of September, 2016.




                                                HonorabieTilllOt~ B. Dyl( \
                                                United States Circuit Judge, sitting by designation




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